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                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION



JIM BONFIGLIO CAMPAIGN
and JIM BONFIGLIO,
individually as an Elector of
House District 89,
Plaintiffs,                            Case No. 4:18-cv-00527

v.
KEN DETZNER, in his official
capacity as Secretary of State, and
the PALM BEACH COUNTY
CANVASSING BOARD, and
SUSAN BUCHER, in her official
capacity as Palm Beach County
Supervisor of Elections,
Defendants.




                   AMENDED NOTICE OF APPEARANCE
                     (DUE TO SCRIVENER’S ERROR)

       Jennifer S. Blohmn hereby withdraws her appearance as co-counsel for

Plaintiffs Jim Bonfiglio Campaign and Jim Bonfiglio, individually as an Elector of

House District 89 (Document 22), and by these presents enters her appearance on

behalf of Intervenor, Bill Nelson for U.S. Senate and Democratic Senatorial

Campaign Committee.
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      Dated: November 14, 2018.


                                       Respectfully submitted,

                                                 /s/
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                                       Co-Counsel for Plaintiffs

                        CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and exact copy of the foregoing document

was filed in the CM/ECF system on this 14 th day of November, 2018, and

therefore served by email upon all counsel of record.




                                            /s/
                                     JENNIFER S. BLOHM




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